                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                           CASE NO. 5:21-CV-225-BO


 JUDITH KNECHTGES,                )
                                  )
                 Plaintiff,       )
                                  )
                                  )
            v.                    )                 PLAINTIFF’S RESPONSE TO
                                  )                  DEFENDANTS’ MOTION TO
 N.C. DEPARTMENT OF PUBLIC )                       EXTEND DISPOSITIVE MOTION
 SAFETY,   ERIC   HOOKS,    JANET )                        DEADLINE
 THOMAS, and TERRI CATLETT,       )
                                  )
                  Defendants,     )
                                  )
                                  )
                                  )
                                  )

      NOW COMES Plaintiff, by and through undersigned counsel, and files this

Response opposing Defendants’ Motion to Extend the Deadline for Filing Dispositive

Motions pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and in support

of this motion, Plaintiff shows the Court as follows:

      1.       On May 17, 2021, Plaintiff filed a complaint in this case. [DE 1]

      2.       On August 6, 2021, Defendants filed their Answer to Plaintiff’s

Complaint. [DE 8]

      3.       On September 16, 2021, this Court issued a discovery plan based on the

parties joint Rule 26(f) report. [DE 11]

       4.      On October 8, 2021, this Court appointed Asa L. Bell, Jr. as mediator in

this matter [DE 14].

      5.       On March 8, 2022, the Parties filed a Joint Motion to Extend the Case



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Management Deadlines based in part in Plaintiff’s Counsel transitioning to a new

law firm. [DE 16]

      6.      On June 28, 2022, the Parties filed a second Joint Motion to Extend the

Case Management Deadlines based in part on discussions of a global settlement and

conducting a mediation. [DE 18] This motion was granted on July 5, 2022 [DE19].

      7.      On July 28, 2022, the Parties filed a Joint Motion to Substitute the

Mediator which was granted by this Court. [DE 20, 21]

      8.      Mediation took place on August 17, 2022 and was held open until

September 14, 2022. Exhibit 1. The mediator scheduled a call for September 2,

2022, and counsel for Plaintiff attended the call; counsel for Defendant did not. The

mediator declared an impasse in her report submitted September 14, 2022.

      9. Counsel for Defendant stated in his motion that he was optimistic the matter

would settle. Counsel for Plaintiff is not optimistic the matter will settle as there has

been ample time for this case to settle if it were going to do so.

      10.     Counsel for Plaintiff served discovery requests on counsel for

Defendants on April 20, 2022. Exhibit 2. No response has been received by counsel

for Plaintiff, despite an email on August 5, 2022, from counsel for Defendants that a

response would be forthcoming. Exhibit 3. This outstanding discovery will be the

subject of a separate motion to compel.

      11. Despite not having responded to Plaintiff’s discovery requests, on July 28,

2022, counsel for Defendants served discovery requests on counsel for Plaintiff to

which responses were provided by Plaintiff.




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      11. Defendants have had ample time to resolve this case, draft a motion for

summary judgment, or move to extend all necessary deadlines prior to this request.

Moreover, Defendants failure to respond to Plaintiff’s discovery requests is clearly

prejudicial to Plaintiff in responding to any dispositive motion that Defendant seeks

to file if his motion to extend the deadline is granted.

      12.     Defendants’ motion is not being filed for the purpose of efficiently and

effectively litigating this matter, because Defendants have had Plaintiff’s discovery

requests since April and still have not responded to them, despite have propounded

their own discovery requests to which Plaintiff has responded. The motion is not

being filed in good faith because Defendants have not responded to Plaintiff’s

discovery requests and now seek to file a dispositive motion which Plaintiff will be

unable to respond to appropriately because Plaintiff has been denied discovery by

Defendants.

      13.     Any extension of the time to file dispositive motions will greatly and

obviously prejudice Plaintiff because Defendants have not responded to her discovery

requests.

      WHEREFORE, for the reasons set forth above, for the good cause shown,

Plaintiff respectfully requests that the Court deny Defendants’ motion requesting an

extension of the dispositive motion.




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Respectfully submitted, this the 30th day of September 2022.

/s/ VALERIE L. BATEMAN                   /S/ JUNE K. ALLISON
Valerie L. Bateman                       June K. Allison
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                          CERTIFICATE OF SERVICE


      The undersigned hereby certifies that a copy of the foregoing PLAINTIFF’S

RESPONSE TO DEFENDANTS’ MOTION TO EXTEND THE TIME FOR

FILING DISPOSITIVE MOTIONS was served by filing the document

electronically via the CM/ECF system, which will send notification of such filing to

all counsel of record.

      This the 30th day of September 2022.


                                       /S/ VALERIE BATEMAN
                                       NEW SOUTH LAW FIRM
                                       Counsel for Plaintiff




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